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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 16-cv-01603-RBJ-NYW

   JAMES P. TATTEN,

         Plaintiff,

   v.

   CITY AND COUNTY OF DENVER, THE,
   DEBRA JOHNSON, and
   LSF9 MASTER PARTICIPATION TRUST,

         Defendants.

   ______________________________________________________________________________

             RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
   ______________________________________________________________________________
   Magistrate Judge Nina Y. Wang

         This matter comes before the court on three pending motions:

         (1)      Defendants City and County of Denver and Debra Johnson’s (collectively, “City

         Defendants”) Motion to Dismiss [#4, filed July 14, 2016];

         (2)      Defendant LSF9 Master Participation Trust’s (“LSF9”) Motion to Dismiss [#34,

         filed November 7, 2016]; and

         (3)      Plaintiff James P. Tatten’s (“Plaintiff” or “Mr. Tatten”) Motion for Leave to File

         First Amended Complaint and Jury Demand (the “Motion to Amend”) [#53, January 11,

         2017].

         The undersigned Magistrate Judge considers the pending motions pursuant to 28 U.S.C.

   § 636(b)(1), the Order Referring Case dated August 8, 2016 [#23], and the memoranda dated

   August 8, 2016 [#24], November 8, 2016 [#38], and January 12, 2016 [#54].             This court
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   concludes that oral argument would not materially assist in the resolution of these matters.

   Accordingly, upon careful review of the Parties’ briefing, the applicable case law, and the entire

   case file, this court respectfully RECOMMENDS that the City Defendants and LSF9’s Motions

   to Dismiss be GRANTED and Plaintiff’s Motion to Amend be DENIED.

                                    FACTUAL BACKGROUND

          Mr. Tatten initiated this action by filing his pro se Complaint on June 23, 2016. [#1].

   The Complaint levies several claims against the City Defendants and LSF9 stemming from the

   foreclosure, and related proceedings, of the property located at 8681 East 29th Avenue, Denver,

   Colorado 80238 (the “Property”). See [id. at ¶¶ 7–10]. The following facts are relevant to the

   pending motions.

          On or about March 3, 2004, Mr. Tatten signed a thirty-year adjustable rate note (the

   “Note”) for approximately $406,000, secured by a deed of trust on the Property. See [#1-1 at

   25]. It appears that Bank of America issued the Note and that BAC Home Loans Servicing, LP

   (“BAC”) serviced the Note. [#1 at ¶¶ 116, 127b.]. However, Mr. Tatten made his last payment

   on the Note in approximately December 2008, making the Note due on January 1, 2009. See [#1

   at ¶¶ 94–95]. At around this same time, Plaintiff suffered a traumatic brain injury that required

   two months of inpatient rehabilitation at Craig Rehabilitation Hospital and an additional twelve

   months of outpatient brain-injury care and rehabilitation services. [Id. at ¶¶ 22–23]. The Social

   Security Administration concluded that Mr. Tatten’s brain injury satisfied the definition of

   “disability” under the Social Security Act, with a disability onset date of November 7, 2008. [Id.

   at ¶¶ 24–25].

          Plaintiff alleges that his family informed Bank of America of his brain injury and

   cognitive disability; however, soon after, Bank of America began “using foreclosure to mislead,



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   harass, and intimidate [him].” [Id. at ¶ 127a.–b.]. For example, following Plaintiff’s traumatic

   brain injury, two foreclosure proceedings on the Property were filed in Denver District Court.

   See [#1-1 at 26–27]. First, on or about August 4, 2009, Countrywide and/or Bank of America

   initiated a foreclosure proceeding in case No. 09CV75799. See [id. at 26]. However, Bank of

   America dismissed its motion for an Order Authorizing Sale (“OAS”) after BAC directed

   Plaintiff to sign a loan modification agreement on September 28, 2009. [#1 at ¶ 104; #1-1 at 26–

   27].

          Though not entirely clear, it appears Plaintiff made no payments on the loan modification

   agreement [#1 at ¶¶ 111–117], because on or about October 28, 2011, Bank of America initiated

   a second foreclosure proceeding in case No. 11CV7484. [#1-1 at 27]. The Denver District

   Court granted Bank of America’s OAS on January 20, 2012. [Id.]. However, Mr. Tatten

   challenged the OAS in state court, Bank of America removed the action to federal court, and the

   United States District Court for the District of Colorado dismissed Plaintiff’s complaint, which

   the Tenth Circuit affirmed on appeal. See [id.]; see also Tatten v. Bank of Am. Corp., 912 F.

   Supp. 2d 1032, 1044 (D. Colo. 2012), aff’d, 562 F. App’x 718 (10th Cir. 2014). Because of Mr.

   Tatten’s lawsuit, Bank of America withdrew without prejudice the second foreclosure action on

   January 23, 2013. [#1-1 at 28].

          On October 30, 2015, Mr. Tatten received a “NOTICE OF SALE OF OWNERSHIP OF

   MORTGAGE LOAN” from LSF9. [#1 at ¶ 131]. The notice informed Plaintiff that Bank of

   America sold Plaintiff’s Note on the Property to LSF9 on September 29, 2015. [Id. at ¶¶ 128,

   132]. On January 28, 2016, LSF9 filed a Notice of Election and Demand for Sale with the

   Public Trustee to foreclose on the Property. See [#55-2]. On February 18, 2016, LSF9 filed a

   motion for an OAS with the Denver District Court in case No. 16CV30555—marking the third



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   foreclosure action on the Property. [#1 at ¶¶ 1, 133]. During the months of February and March

   2016, Mr. Tatten emailed two employees of the Public Trustee’s office, requesting information

   regarding the third foreclosure action. [Id. at ¶¶ 72–75, 78–81]. Then, in March 2016, Mr.

   Tatten filed a response to the motion for an OAS, arguing that the six-year statute of limitations

   had run on the Note thereby barring LSF9’s foreclosure action. [Id. at ¶¶ 138–139].

            The Denver District Court held contested Rule 120 hearings on April 22 and 25, 2016.

   [Id. at ¶ 31]. Prior to the hearings, Mr. Tatten contacted the Denver District Court to alert the

   judge of his cognitive disabilities, and a court representative responded that she informed the

   judge and that should he need any assistance during the hearing, the court would make necessary

   accommodations. See [id. at ¶¶ 33–35]. At the close of the Rule 120 hearing on April 25, 2016,

   the Denver District Court concluded, inter alia, that the statute of limitations did not bar LSF9’s

   foreclosure action, that Plaintiff had the capacity to sign the loan modification agreement in

   September 2009, and that there was a reasonable probability that Plaintiff defaulted on the Note.

   See [#1 at ¶¶ 49–65, 92–93; #1-1]. The judge then issued an OAS, and the Public Trustee Sale

   of the Property was set for June 9, 2016. 1 [#1 at ¶¶ 92–93; #1-1].

            On June 1, 2016, Plaintiff alleges that he hand-delivered his “Notice of Intent to Sue the

   City and County of Denver and Clerk and Recorder” to the offices of Denver Mayor Michael

   Hancock and Debra Johnson, the Denver City and County Public Trustee. [Id. at ¶ 82]. This

   notice stated that he intended to sue the City Defendants because their actions relating to the

   foreclosure proceedings violated his constitutional rights and were the cause of his damages. [Id.

   at ¶ 83]. A week later, on June 8, 2016, Mr. Tatten filed an “EMERGENCY MOTION TO

   ENJOIN OR VACATE ORDER AUTHORIZING SALE” (the “Emergency Motion to Enjoin”)



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       Mr. Tatten challenges the OAS on numerous grounds. See e.g., [#1 at 9–14].
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   with the Denver District Court. [Id. at ¶ 66]. The Emergency Motion to Enjoin argued that

   LSF9’s OAS was void and unenforceable, because it violated:                (1) the United States

   Constitution; (2) Mr. Tatten’s due process rights; (3) Mr. Tatten’s rights under 42 U.S.C. § 1983;

   (4) the Fair Debt Collection Practices Act (“FDCPA”); (5) the six-year statute of limitations for

   actions on promissory notes under Colo. Rev. Stat. § 13–80–103.5(1)(a); and (6) Colo. Rev. Stat.

   § 38–39–207, which states that any lien extinguishes upon the expiration of any statute of

   limitations to commence any action on the instrument creating the lien. See [id. at ¶ 68c.]. In

   addition, Plaintiff argued that the judge in the Rule 120 proceeding made findings of law and fact

   beyond the scope of the proceeding and that the proceedings were prejudicial to him. See [id. at

   ¶¶ 68d.–e.]. The Denver District Court denied the Emergency Motion to Enjoin, following a

   hearing on June 8, 2016. [Id. at ¶ 70].

          Also on June 8, 2016, Plaintiff alleges that the Public Trustee’s website was unavailable

   and that he could not access relevant information pertaining to the foreclosure sale set for June 9,

   2016. [Id. at ¶¶ 86–87]. Accordingly, Plaintiff went to the Public Trustee’s office that same day

   and asked “Public Trustee employees questions concerning the requirements, administration, and

   oversight of bids and auction sales.” [Id. at ¶ 88]. According to Plaintiff, an employee named

   Juan Guzman interrupted his discussion and informed other employees not to answer any of his

   questions. [Id. at ¶¶ 89–90]. Allegedly, Mr. Guzman told Plaintiff, “[w]e will continue with our

   statutory obligations.” [Id. at ¶ 91].

          Accordingly, the Public Trustee sale of the Property was scheduled for June 9, 2016. [Id.

   at ¶ 92]. On June 7, 2016, LSF9 bid a sum of $570,819.45 for the Property, which was the

   winning bid. [Id. at ¶ 84]. On June 23, 2016, Plaintiff initiated the instant suit “in response to

   ORDER AUTHORIZING SALE issued on April 26, 2016 by the Denver District Court in Case



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   Number 2016CV030555.”          [Id. at ¶ 1].     Essentially, Plaintiff challenges the Rule 120

   proceedings, the OAS, and the Defendants’ actions in connection with the third foreclosure

   proceeding. Specifically, Plaintiff levies three constitutional claims under 42 U.S.C. § 1983 for

   violations of his Fourteenth Amendment rights to due process by all Defendants (Claim I),

   violations of his Fourteenth Amendment rights to equal protection by all Defendants (Claim II),

   and violations of his Fourteenth Amendment rights due to the City Defendants’ implementation

   of unconstitutional policies and practices (Claim III); in addition, Plaintiff asserts violations of

   Title II of the Americans With Disabilities Act (“ADA”) by the City Defendants (Claim IV),

   violations of the FDCPA by all Defendants (Claim V), and that the Defendants’ acts or

   omissions constituted intentional infliction of emotional distress (“IIED”) (Claim VI). See [id. at

   34–43]. Plaintiff requests all appropriate relief at law and equity; declaratory relief and other

   appropriate equitable relief; economic losses on all claims; compensatory and consequential

   damages; punitive damages on all claims; attorney’s fees and costs; pre and post-judgment

   interest; and any further relief deemed just and proper by the court. [Id. at 44].

                                      PROCEDURAL HISTORY

          On July 14, 2016, the City Defendants filed their Motion to Dismiss pursuant to Rules

   12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure. [#4]. On July 15, 2016, Mr.

   Tatten filed his Ex Parte Application for Temporary Restraining Order and Order to Show Cause

   Why a Preliminary Injunction Should Not Issue (“Motion for Temporary Restraining Order”).

   [#7]. Plaintiff’s Motion for Temporary Restraining Order sought to enjoin LSF9 from “engaging

   in any acts or actions concerning eviction or possession of Tatten’s home.” [Id. at ¶ 6]. On July

   19, 2016, the Honorable Lewis T. Babcock denied the Motion for Temporary Restraining Order

   [#9], and Magistrate Judge Gordon P. Gallagher issued an Order drawing case [#12].



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          On July 25, 2016, Plaintiff filed a Motion for Entry of Default against LSF9 that the

   Clerk of the Court denied for Plaintiff’s failure to prove service on LSF9. See [#17; #18]. Mr.

   Tatten then filed a “Motion to Extend the Time for Service of Summons and Complaint Pursuant

   to FED.R.Civ.P.4(m),” and the undersigned Magistrate Judge granted Plaintiff an additional

   thirty-days to properly serve LSF9. [#28;#29]. On September 27, 2016, LSF9 returned an

   executed waiver of service [#31] and, on November 7, 2016, filed its Motion to Dismiss. [#34].

   In response to LSF9’s Motion to Dismiss, Plaintiff filed an Amended Complaint and Jury

   Demand on November 28, 2016. [#44]. However, given Mr. Tatten’s noncompliance with this

   District’s Local Rules of Civil Practice and the applicable Federal Rules of Civil Procedure, the

   undersigned Magistrate Judge struck Plaintiff’s Amended Complaint. 2 [#45]. By that same

   Minute Order, this court directed Plaintiff to file a proper motion to amend and amended

   complaint no later than December 6, 2016. [Id.].

          By Minute Order, the undersigned Magistrate Judge scheduled a motions hearing on the

   pending motions to dismiss for December 19, 2016, at 2:00 p.m. [#39]. However, Mr. Tatten

   failed to appear for the motions hearing, and the undersigned Magistrate Judge issued an Order

   to Show Cause as to why the court should not dismiss Plaintiff’s case for failure to prosecute or

   for his failure to comply with an order of this court. See [#47]. In addition, this court explained

   that it would issue a recommendation on the pending motions to dismiss without oral argument.

   [Id.]. Plaintiff responded to the Order to Show Cause, explaining that his cognitive disabilities

   render it difficult for him to remember scheduled appointments and, in addition, Plaintiff



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    While Mr. Tatten is proceeding pro se, he is still bound to follow the same rules of procedure
   and substantive law as represented parties. See Dodson v. Bd. of Cty. Comm'rs, 878 F. Supp. 2d
   1227, 1236 (D. Colo. 2012). Although Mr. Tatten proceeds pro se, he is also an attorney, and is
   not entitled to the indulgence that a pro se litigant’s pleadings and filings be construed liberally.
   See Tatten v. Bank of Am. Corp., 562 F. App’x 718, 720 (10th Cir. 2014).
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   requested that this court reconsider its decision to issue a recommendation on the pending

   motions to dismiss without oral argument. [#48; #52]. This court discharged the Order to Show

   Cause on December 22, 2016, and denied Plaintiff’s request for additional oral argument on the

   motions to dismiss. See [#51].

          On January 11, 2016, Mr. Tatten filed his Motion to Amend. [#53]. Per this court’s

   order, the City Defendants and LSF9 (collectively, “Defendants”) filed their responses on

   January 19 and 20, 2016, respectively. [#57; #58]. No replies were permitted. In addition,

   Plaintiff filed a response and the City Defendants a reply to its Motion to Dismiss and, although

   Plaintiff failed to respond to LSF9’s Motion to Dismiss, the time to do so has since expired and

   nothing precludes this court for issuing a Recommendation on a pending motion at any time. See

   D.C.COLO.LCivR 7.1(d). Accordingly, the pending motions are ripe for recommendation.

                                         LEGAL STANDARD

   I.     Rule 12(b)(1)

          Federal courts are courts of limited jurisdiction and, as such, “are duty bound to examine

   facts and law in every lawsuit before them to ensure that they possess subject matter

   jurisdiction.” The Wilderness Soc. v. Kane Cty., Utah, 632 F.3d 1162, 1179 n.3 (10th Cir. 2011)

   (Gorsuch, J., concurring). Indeed, courts have an independent obligation to determine whether

   subject matter jurisdiction exists, even in the absence of a challenge from any party. 1mage

   Software, Inc. v. Reynolds & Reynolds, Co., 459 F.3d 1044, 1048 (10th Cir. 2006) (citing

   Arbaugh v. Y & H Corp., 546 U.S. 500 (2006)). Under Rule 12(b)(1), a court may dismiss a

   complaint for lack of subject-matter jurisdiction. Doing so is not a determination on the merits

   of the case; rather, it is a decision that the court lacks the authority to adjudicate the action. See

   Castaneda v. INS, 23 F.3d 1576, 1580 (10th Cir. 1994) (recognizing federal courts are courts of



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   limited jurisdiction and may only exercise jurisdiction when specifically authorized to do so). A

   court that lacks jurisdiction “must dismiss the cause at any stage of the proceeding in which it

   becomes apparent that jurisdiction is lacking.” Basso v. Utah Power & Light Co., 495 F.2d 906,

   909 (10th Cir. 1974). The burden of establishing subject matter jurisdiction is on the party

   asserting jurisdiction. See Id. Accordingly, Plaintiff in this case bears the burden of establishing

   that this Court has jurisdiction to hear his claims.

          A motion to dismiss pursuant to Rule 12(b)(1) may take two forms: a facial attack or a

   factual attack. Stuart v. Colo. Interstate Gas Co., 271 F.3d 1221, 1225 (10th Cir. 2001); Holt v.

   United States, 46 F.3d 1000, 1002 (10th Cir. 1995). “In reviewing a facial attack on the

   complaint, a district court must accept the allegations in the complaint as true.” Holt, 46 F.3d at

   1002. Mere conclusory allegations of jurisdiction are insufficient. Groundhog v. Keeler, 442

   F.2d 674, 677 (10th Cir. 1971). Nevertheless, “a court is required to convert a Rule 12(b)(1)

   motion to dismiss into a Rule 12(b)(6) motion or a Rule 56 summary judgment motion when

   resolution of the jurisdictional question is intertwined with the merits of the case.” Id. As

   explained in Holt v. United States, “the jurisdictional question is intertwined with the merits of

   the case if subject matter jurisdiction is dependent on the same statute which provides the

   substantive claim in the case.” 46 F.3d at 1002.

  II.     Rule 12(b)(6)

          Under Rule 12(b)(6) a court may dismiss a complaint for “failure to state a claim upon

   which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In deciding a motion under Rule

   12(b)(6), the court must “accept as true all well-pleaded factual allegations . . . and view these

   allegations in the light most favorable to the plaintiff.” Casanova v. Ulibarri, 595 F.3d 1120,

   1124 (10th Cir. 2010) (quoting Smith v. United States, 561 F.3d 1090, 1098 (10th Cir. 2009)).



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   Nevertheless, a plaintiff may not rely on mere labels or conclusions, “and a formulaic recitation

   of the elements of a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

   555 (2007); see also Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991) (holding that even

   pro se litigants cannot rely on conclusory, unsubstantiated allegations to survive a 12(b)(6)

   motion). Rather, “a complaint must contain sufficient factual matter, accepted as true, to state a

   claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009); see

   also Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008) (explaining that plausibility

   refers “to the scope of the allegations in a complaint,” and that the allegations must be sufficient

   to nudge a plaintiff’s claim(s) “across the line from conceivable to plausible.”).

          The ultimate duty of the court is to “determine whether the complaint sufficiently alleges

   facts supporting all the elements necessary to establish an entitlement to relief under the legal

   theory proposed.” Forest Guardians v. Forsgren, 478 F.3d 1149, 1160 (10th Cir. 2007). Should

   the court receive and consider materials outside the complaint, the court may convert a Rule

   12(b)(6) motion to a motion for summary judgment if the parties have notice of the changed

   status and the nonmovant responded by supplying its own extrinsic evidence. See Alexander v.

   Oklahoma, 382 F.3d 1206, 1214 (10th Cir. 2004). However, a district court may consider legal

   arguments contained in a brief in opposition to dismissal or documents referred to in the

   complaint that are central to a plaintiff’s claim if the Parties’ do not dispute their authenticity

   without converting the Rule 12(b)(6) motion into a summary judgment motion. See Cty. of

   Santa Fe, N.M. v. Public Serv. Co. of N.M., 311 F.3d 1031, 1035 (10th Cir. 2002). In addition,

   the court may consider documents subject to judicial notice, including court documents and

   matters of public record. See Tal v. Hogan, 453 F.3d 1244, 1264 n. 24 (10th Cir. 2006).




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  III.     Rule 15(a)

           If a party files a motion to amend prior to the expiration of the deadline for joinder of

    parties and amendment of pleadings, Rule 15(a) governs whether to grant the movant leave to

    amend; there is no requirement to also establish good cause to amend the scheduling order under

    Rule 16(b). See Fernandez v. Bridgestone/Firestone, Inc., 105 F. Supp. 2d 1194, 1195 (D. Colo.

    2000). Rule 15(a) provides that leave to amend “shall be freely given when justice so requires.”

    Fed. R. Civ. P. 15(a). The court may refuse leave to amend upon a showing of undue delay,

    undue prejudice to the opposing party, bad faith or dilatory motive, failure to cure deficiencies

    by amendments previously allowed, or futility of amendment. Frank v. U.S. West, Inc., 3 F.3d

    1357, 1365 (10th Cir. 1993).

           For example, courts will generally deny a motion to amend as untimely when the moving

    party offers no adequate explanation for the delay. See, e.g., Panis v. Mission Hills Bank,

    N.A., 60 F.3d 1486, 1495 (10th Cir. 1995) (“untimeliness in itself can be a sufficient reason to

    deny leave to amend, particularly when the movant provides no adequate explanation for the

    delay”); Fed. Ins. Co. v. Gates Learjet Corp., 823 F.2d 383, 387 (10th Cir. 1987) (“Courts have

    denied leave to amend in situations where the moving party cannot demonstrate excusable

    neglect. For example, courts have denied leave to amend where the moving party was aware of

    the facts on which the amendment was based for some time prior to the filing of the motion to

    amend.”). In addition, a court may dismiss a motion to amend if amendment is futile, i.e., the

    amended complaint would be subject to dismissal for any reason. See generally Watson v.

    Beckel, 242 F.3d 1237, 1239–40 (10th Cir. 2001) (holding that futility includes if the amendment

    would not survive a motion for summary judgment). Ultimately, whether to allow amendment is




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   within the trial court’s discretion. Burks v. Oklahoma Publ’g Co., 81 F.3d 975, 978–79 (10th

   Cir. 1996).

                                             ANALYSIS

   I.     Dismissal Pursuant to Rule 12(b)(1)

          Defendants argue for dismissal of Plaintiff’s claims (except for his ADA claim) on the

   basis that this court lacks subject matter jurisdiction over those claims. First, Defendants argue

   that the Rooker-Feldman doctrine bars Claims I, II, III, V, and VI, as each is an attempt to seek

   appellate-type review of a final state court decision. See [#4 at 6; #34 at 5]. Second, the City

   Defendants argue that the Colorado Governmental Immunity Act (“CGIA”) bars Plaintiff’s tort

   claim against the City Defendants. [#4 at 15]. This court considers these arguments below. 3

          A.      The Rooker-Feldman Doctrine

          “Rooker-Feldman is a jurisdictional prohibition on lower federal courts exercising

   appellate jurisdiction over state-court judgments.” Campbell v. City of Spencer, 682 F.3d 1278,

   1281 (10th Cir. 2012). It “precludes a losing party in state court who complains of injury caused

   by the state-court judgment from bringing a case seeking review and rejection of that judgment

   in federal court.” Miller v. Deutsche Bank Nat’l Trust Co. (In re Miller), 666 F.3d 1255, 1261

   (10th Cir. 2012).   However, courts in this Circuit have reasoned that the Rooker-Feldman

   doctrine does not apply to issues relevant to the Rule 120 proceedings prior to the foreclosure

   sale. See e.g., Niederquell v. Bank of Am., N.A., No. 11–cv–03185–MSK–MJW, 2012 WL

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     Although Plaintiff filed his Motion to Amend, which may moot Defendants’ Motions to
   Dismiss, Strich v. United States, No. 09-cv-01913-REB-KLM, 2010 WL 14826, at *1 (D. Colo.
   Jan. 11, 2010) (citations omitted) (“The filing of an amended complaint moots a motion to
   dismiss directed at the complaint that is supplanted and superseded.”), this court must first
   determine whether it has subject matter jurisdiction to consider Plaintiff’s Complaint. Herrera v.
   Alliant Specialty Ins. Servs., Inc., No. 11–00050–REB–CBS, 2012 WL 959405, at *3 (D. Colo.
   Mar. 21, 2012) (stating that issues of subject matter jurisdiction “must be resolved before the
   court may address other issues presented in the motion to dismiss”).
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   1578060, at *3 (D. Colo. May 4, 2012); In re Miller, 666 F.3d at 1262 n.6; Rousseau v. Bank of

   New York, Civil Action No. 08–cv–00205–PAB–BNB, 2009 WL 3162153 (D. Colo. Sept. 29,

   2009). Rather, Rooker-Feldman bars claims seeking to overturn the final outcome of a Rule 120

   proceeding. See Mayotte v. US Bank Nat’l Ass’n, No. 14-CV-3092-RBJ-CBS, 2016 WL 943781,

   at *4 (D. Colo. Mar. 14, 2016) (discussing Dillard v. Bank of N.Y., 476 F. App’x 690, 692 n.3

   (10th Cir. 2012) (holding that Rooker-Feldman barred Ms. Dillard’s suit she “[was] attempting

   to completely undo the foreclosure and eviction proceedings, which were both final before she

   ever initiated [her] suit.”)).

           Thus, the inquiry focuses on whether the foreclosure proceedings were sufficiently final

   when Plaintiff filed his Complaint. Id. This can occur in one of two ways. First, the foreclosure

   proceedings are final for purposes of Rooker-Feldman if the state court confirmed the Public

   Trustee’s sale of the foreclosed upon property. See McDonald v. J.P. Morgan Chase Bank, N.A.,

   No. 12-CV-02749-MSK, 2014 WL 334813, at *3 (D. Colo. Jan. 30, 2014). Second, when, at a

   minimum, Plaintiff’s redemption rights pursuant to Colo. Rev. Stat. § 38–38–501 have expired.

   See Castro v. Kondaur Capital Corp., No. 11-CV-03298-CMA-KLM, 2012 WL 3778346, at *5

   (D. Colo. Aug. 14, 2012) (“Accordingly, because Plaintiffs’ rights were extinguished prior to the

   filing of this lawsuit, application of the Rooker–Feldman doctrine prevents the Court from

   determining their rights in the sold property.”). Section 38–38–501 provides that “[u]pon the

   expiration of all redemption periods” title to the foreclosed property vests in the “holder of the

   certificate of purchase” or, in the absence of any redemption periods, “upon the close of the

   officer’s business eight business days after the sale.” Colo. Rev. Stat. § 38–38–501.




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          Here, the Public Trustee’s sale occurred on June 9, 2016, and LSF9 is the holder of the

   certificate of purchase [#55-8 at 1],4 meaning that LSF9’s title in the Property vested on June 21,

   2016. Accordingly, as of June 23, 2016, the date Plaintiff filed his Complaint, his rights in the

   Property had extinguished. See Mayhew v. Cherry Creek Mortg. Co., Inc., No. 09–cv–00219–

   PAB–CBS, 2010 WL 935674, at *10 (D. Colo. Mar.10, 2012). Nevertheless, Plaintiff’s claims

   may survive to the extent they do not seek to undo the foreclosure sale of the Property. Cf.

   Zeller v. Ventures Trust 2013-I-NH, No. 15-CV-01077-PAB-NYW, 2016 WL 745373, at *6 (D.

   Colo. Feb. 1, 2016) (noting that Rooker-Feldman bars claims seeking to undo the foreclosure

   proceedings).

                1.    Claims I and II: Due Process and Equal Protection under the Fourteenth
                      Amendment

          Plaintiff’s Claims I and II allege that Defendants violated his Fourteenth Amendment

   rights to due process and equal protection, because Plaintiff had a constitutional right to a “Rule

   120 hearing that was free from prejudice and discrimination.” [#1 at ¶¶ 143, 163]. Essentially,

   Plaintiff challenges the Defendants’ actions in connection with the third Rule 120 proceeding

   and subsequent foreclosure of the Property, because: (1) the City Defendants knew or should

   have known that the applicable statute of limitations barred LSF9’s foreclosure on the Property;



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     This court finds it appropriate to take judicial notice of the Public Trustee’s Certificate of
   Purchase of the Property [#55-8 at 1] without converting the Motions to Dismiss to ones for
   summary judgment. See Fed.R.Evid. 201(b)(2) (A court may take judicial notice of a fact “that
   is not subject to reasonable dispute because it . . . can be accurately and readily determined from
   sources whose accuracy cannot be reasonably questioned.”); Smith v. Krieger, 643 F. Supp. 2d
   1274, 1286 (D. Colo. 2009) (“Facts subject to judicial notice may be considered in a motion to
   dismiss without converting the motion to dismiss into a motion for summary judgment.”). In
   addition, LSF9 received its Public Trustee Confirmation Deed on July 5, 2016 [#55-9], another
   event that extinguishes Plaintiff’s rights in the Property, Beeler Properties, LLC v. Lowe
   Enterprises Residential Inv’rs, LLC, No. CIV.A.07-CV-00149MSK, 2007 WL 1346591, at *3
   (D. Colo. May 7, 2007), and Rooker-Feldman applies even if the foreclosure sale becomes final
   after Plaintiff initiated his federal suit. McDonald, 2014 WL 334813, at *3–4.
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   (2) Defendant Johnson allowed the foreclosure sale to proceed, despite Plaintiff’s objections; and

   (3) the Rule 120 proceedings were prejudicial and discriminatory towards Plaintiff, a disabled

   homeowner, because the judge made conclusions of law and fact that were outside the scope of

   his authority and did not accommodate his cognitive disability. See, e.g., [#1 at ¶¶ 4–12, 14–15,

   33–34, 143–160, 165–180].

            Defendants argue that the Rooker-Feldman doctrine bars these claims, because Plaintiff

   requests that this court reexamine the proceedings and judgment of the state court. See [#4 at 7;

   #34 at 6]. In response to the City Defendants’ Motion to Dismiss, Plaintiff argues that his

   Complaint “seeks relief from certain statements, actions, and conduct attributed to the City

   Defendants,” and that the application of the Rooker-Feldman doctrine is factually and legally

   inconsistent with his Complaint. See [#25 at 3, 4]. For the following reasons, this court

   respectfully disagrees.

            First, as to Plaintiff’s due process claim (Claim I), the court in Driskell v. Thompson

   explained, “[t]o the extent Plaintiff seeks to state a claim alleging a violation of his due process

   rights pursuant to the . . . Fourteen Amendment[], such a claim would challenge the judicial

   process engaged in by the state courts. . . . [and] would impermissibly involve a reexamination of

   the underlying state proceedings and judgments.” 971 F. Supp. 2d 1050, 1064–65 (D. Colo.

   2013).    Here, Plaintiff seeks declaratory and equitable relief in addition to damages, and

   frequently asserts that the Rule 120 proceeding and OAS are erroneous, that the foreclosure on

   the Property is void and unenforceable, and that Plaintiff is the sole lawful owner of the Property.

   See, e.g., [#1 at ¶¶ 2–9, 12, 48, 60–62, 155; id. at 44]. Plaintiff also dedicates an entire section of

   his Complaint wherein he specifically challenges the Rule 120 judge’s conclusions of law and

   fact. See [id. at ¶¶ 43–65].



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          Accordingly, Plaintiff’s due process claim would necessarily require this court to

   reexamine the procedural sufficiency of the Rule 120 hearings and related state court

   proceedings. See Driskell, 971 F. Supp. 2d at 1064–65. Moreover, Plaintiff already challenged

   the validity of the OAS in Denver District Court on June 8, 2016, by filing his Emergency

   Motion to Enjoin that argued, inter alia, that the Rule 120 proceeding violated his due process

   rights, which the Denver District Court denied. 5 See [#1 at ¶¶ 68, 70]; Yokomizo v. Deutsche

   Bank Sec., Inc., No. 11-CV-01630-CMA-KLM, 2011 WL 2912691, at *2 (D. Colo. July 20,

   2011) (“To the extent that Plaintiff alleges that the foreclosure proceedings were rife with

   procedural mishaps . . . the more appropriate remedy is to pursue an independent action in state

   court” that challenges the OAS and sale of the property). Thus, the Rooker-Feldman doctrine

   bars any decision by this court on Plaintiff’s due process claim. See Dillard v. Bank of N.Y., No.

   09-CV-03008-WYD-BNB, 2011 WL 2728925, at *6 (D. Colo. May 9, 2011) (recommending

   dismissal of Ms. Dillard’s due process claim as barred by Rooker-Feldman, because the state

   courts had already issued final decisions on the matter).

          Similarly, Plaintiff’s equal protection claim largely reiterates his allegations that form the

   basis of his due process claim, i.e., that Defendants knew the statute of limitations barred

   foreclosure, but proceeded with foreclosure nonetheless, which violates his equal protection

   rights because he is disabled. See [#1 at 37–39]. Again, the basis for this claim centers on

   matters previously adjudicated by the Denver District Court that issued the OAS and would

   require review of a decision that has become final; therefore, “granting Plaintiff[] the relief

   requested here would require this Court to invalidate a state court judgment”—relief the Rooker-

   Feldman doctrine precludes. Sladek v. Bank of Am., NA, No. 13-CV-03094-PAB-MEH, 2014

   5
    And, as noted, Plaintiff filed a similar motion in this case that Judge Babcock denied. See [#7;
   #9].
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   WL 8105182, at *6 (D. Colo. July 10, 2014) (recommending dismissal of the plaintiffs’ equal

   protection claim under Rooker-Feldman).

          Based on the foregoing, this court concludes that Plaintiff’s due process and equal

   protection claims (Claim I and II) necessarily require an appellate-like review of the Rule 120

   proceedings and subsequent foreclosure sale of the Property in violation of Rooker-Feldman.

   This conclusion holds true even to the extent Plaintiff seeks monetary damages pursuant to

   § 1983 for constitutional violations allegedly caused by the Rule 120 proceeding and subsequent

   foreclosure sale. See Kenmen Eng’g v. City of Union, 314 F.3d 468, 477 (10th Cir. 2002)

   (holding that the Rooker-Feldman doctrine barred the plaintiffs’ request for monetary relief for

   alleged due process violations stemming from the state-court proceedings, because the claim was

   “inextricably intertwined” with the state-court judgment). Consequently, this court respectfully

   RECOMMENDS that Plaintiff’s due process and equal protection claims (Claims I and II) be

   DISMISSED.

                2.    Claims III, V, and VI

          Defendants also argue that the Rooker-Feldman doctrine bars Plaintiff’s Claims III, V,

   and VI for the same reasons discussed above. See [#4 at 7; #34 at 7]. However, this court

   respectfully disagrees.

          First, Plaintiff’s Claim III asserts that the City Defendants violated his Fourteenth

   Amendment rights to due process and equal protection by failing to train and supervise its

   employees. See [#1 at 40]. Specifically, Plaintiff alleges that the City Defendants failed to train

   and supervise its employees on how to implement foreclosures in accordance with State laws and

   Rule 120, or in accordance with due process and equal protection, especially when dealing with

   disabled persons. See [id.]. Based on these allegations, it does not appear that Plaintiff’s Claim



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   III seeks an appellate-type review of the Rule 120 proceeding and subsequent foreclosure sale.

   Rather, Plaintiff attempts to use his experience to establish a policy or custom of constitutional

   violations by the City Defendants and their employees who implement foreclosures within the

   state. See Rigg v. City of Lakewood, 37 F. Supp. 3d 1207, 1212 (D. Colo. 2014) (holding that

   “evidence of a single violation of federal rights, accompanied by a showing that a municipality

   has failed to train its employees to handle recurring situations presenting an obvious potential for

   such a violation, is sufficient to trigger municipal liability” under § 1983). Accordingly, this

   court concludes that the Rooker-Feldman doctrine does not bar Claim III.

          Similarly, this court concludes that the Rooker-Feldman doctrine does not bar Claims V

   and VI. Claim V alleges that Defendants violated several provisions of the FDCPA. [#1 at 42–

   43]. And, although the actions giving rise to Plaintiff’s FDCPA claim occurred prior to the Rule

   120 proceeding and relate to the foreclosure of the Property, Plaintiff’s FDCPA claim is “not an

   attack on the judgment or proceedings . . . but rather [a] claim[] that could have been brought

   regardless of what occurred at the state-court level.” Amerson v. Chase Home Fin. LLC, No. 11-

   CV-01041-WJM-MEH, 2012 WL 1686168, at *10 (D. Colo. May 7, 2012) (citation omitted).

   Likewise, it appears that Plaintiff’s IIED claim (Claim VI) arises from conduct that occurred

   prior to the Rule 120 proceeding or that was independent of the Rule 120 proceeding. See [#1 at

   16–17, 21–22]. Thus, the state-court judgment does not appear to be the sole cause of Plaintiff’s

   IIED injury. 6 See McDaniel v. John Suthers, No. CIVA 08CV00223WDMMEH, 2008 WL




   6
     However, to the extent that Plaintiff’s Complaint can be interpreted as alleging an IIED claim
   against Defendants based solely on the Rule 120 proceeding, this court recommends that
   Plaintiff’s IIED claim (Claim VI) be dismissed under the Rooker-Feldman doctrine. As
   discussed in detail below, this court also recommends dismissal of Plaintiff’s IIED claim (Claim
   VI) against all Defendants for lack of subject matter jurisdiction based on sovereign immunity
   conferred by the CGIA, or in the alternative, for failure of state a cognizable claim.
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   4527697, at *6 (D. Colo. Oct. 2, 2008) (citation omitted) (holding that Rooker-Feldman bars

   only those claims caused by a state court judgment).

          Based on the foregoing, this court respectfully RECOMMENDS that Defendants’

   Motions to Dismiss be DENIED as to Plaintiff’s Claims III, V, and VI on Rooker-Feldman

   grounds.

          B.       Claim VI – The CGIA

          The CGIA bars actions in tort against public employees and entities, subject to certain

   provisions waiving immunity. Medina v. State, 35 P.3d 443, 453 (Colo. 2001). “Governmental

   immunity raises a jurisdictional issue.” Springer v. City & County of Denver, 13 P.3d 794, 798

   (Colo. 2000).

          The CGIA provides that a “public entity shall be immune from liability in all claims for

   injury which lie in tort or could lie in tort.” Colo. Rev. Stat. § 24–10–106(1). However, in

   limited circumstances, public entities waive their sovereign immunity for injuries resulting from,

   inter alia, the operation of a public hospital or correctional facility; any dangerous condition in a

   public building; a dangerous condition on a public highway, road, or street that physically

   interferes with the movement of traffic; a dangerous condition caused by failure to properly

   maintain stop signs; dangerous conditions caused by accumulation of ice or snow; or for

   dangerous conditions of areas open to the public, maintained by the public entity. Id. §§ 24–10–

   106(1)(a)–(i). The term “public entity” is defined as “the state, county, city and county,

   municipality, school district . . . and every other kind of district, agency, instrumentality, or

   political subdivision thereof organized pursuant to law.” Id. at § 103(5). Here, there is no

   dispute that the City and County of Denver constitutes a “public entity.”




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          Similarly, the CGIA also covers “public employees,” defined as “an officer, employee,

   servant, or authorized volunteer of the public entity.” Id. at § 103(4). Here, Defendant Johnson,

   as Public Trustee for the City and County of Denver, is a “public employee.” Specifically, the

   CGIA provides

          [a] public employee shall be immune from liability in any claim for injury . . .
          which lies in tort or could lie in tort regardless of whether that may be the type of
          action or the form of relief chosen by a claimant and which arises out of an act or
          omission of such employee occurring during the performance of his duties and
          within the scope of his employment unless the act or omission causing injury was
          willful and wanton . . .

   Colo. Rev. Stat. § 24-10-118(2)(a).

          Whether an action lies or could lie in tort “depends on the factual basis underlying the

   claim and, specifically, the nature of the alleged injury.” First Nat’l Bank of Durango v. Lyons,

   349 P.3d 1161, 1164 (Colo. App. 2015). Thus an action lies or could lie in tort if the defendant’s

   duties, which are implied by law, are designed to protect against the risk of harm to persons of

   property. Foster v. Bd. of Governors of the Colorado State Univ. Sys. by & on behalf of

   Colorado State Univ., 342 P.3d 497, 501 (Colo. App. 2014). Here, Mr. Tatten’s “state law claim

   for outrageous conduct [i.e., IIED] is governed by the [CGIA].” Parker v. Salzman, No. 11-CV-

   02192-REB-CBS, 2014 WL 3561119, at *8 (D. Colo. July 17, 2014).

                1.    Notice

          Pursuant to section 24–10–109(1), a plaintiff must file written notice with the public

   entity or public employee “within one hundred eighty-two days after the date of discovery of the

   injury, regardless of whether the person knew all of the elements of a claim or of a cause of

   action for such injury.” The issue of proper notice is a jurisdictional prerequisite to bringing any




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   action under the CGIA. 7 See Bassett v. Klinkler, No. 13-CV-03391-MJW, 2014 WL 5444086, at

   *4 (D. Colo. Oct. 27, 2014). “When a plaintiff fails to plead compliance with the CGIA, and a

   court addresses the case in the context of a motion to dismiss, the court must accept as a matter

   of ‘fact’ that the plaintiff failed to comply with the notice provisions.” Aspen Orthopedics &

   Sports Med., LLC v. Aspen Valley Hospital Dist., 353 F.3d 832, 840 (10th Cir. 2003). “This lack

   of compliance, then, is a jurisdictional issue.” Id.

          The City Defendants argue that the CGIA bars Plaintiff’s IIED claim (Claim VI), because

   Plaintiff failed to comply with the notice provisions of Colo. Rev. Stat. § 24–10–109, which is a

   jurisdictional prerequisite to any CGIA action.        See [#4 at 16–17].   Specifically, Plaintiff

   hand-delivered his “Notice of Intent to Sue the City and County of Denver and Clerk and

   Recorder” on June 1, 2016; however, the potentially relevant allegations to his IIED claim

   occurred on June 8 and 9, 2016, “after Tatten’s Notice of Intent.” [Id.].

          Here, Plaintiff served his written notice on the City Defendants on June 1, 2016 [#1 at ¶¶

   82–83], and, although some of his allegations pertain to conduct that occurred after serving his

   written notice, the statute allows a plaintiff to serve such notice even if she did not know all of

   the elements of her claim. Colo. Rev. Stat. § 24–10–109(1). In addition, Plaintiff’s Complaint

   lists some of the relevant content provided in his written notice; thus, this court concludes that

   Plaintiff complied with the notice provisions under the CGIA. See Aspen Orthopedics & Sports

   Med., LLC, 353 F.3d at 841 (observing that an allegation of “Plaintiff fully complied with the

   [notice] provisions of [section] 24–10–109” would be sufficient to survive a motion to dismiss).



   7
     Section 24–10–109(6) also requires a plaintiff to wait at least ninety-days before filing a
   complaint after serving the public entity or employ. Here, Plaintiff filed his Complaint 22-days
   after serving his written notice; however, noncompliance with section 24–10–109(6) does not
   serve as a jurisdictional bar to maintaining Plaintiff’s claim. See Dicke v. Mabin, 101 P.3d 1126,
   1130 (Colo. App. 2004).
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   Therefore, this court declines to recommend dismissal of Plaintiff’s IIED claim (Claim VI) for

   failure to comply with the CGIA’s notice requirements.

                2.    “Willful and Wanton”

          Although not raised by the Parties, this court interprets the CGIA’s waiver of immunity

   for “willful and wanton” conduct as presenting a subject matter jurisdiction issue rather than a

   Rule 12(b)(6) issue. See Martinez v. Estate of Bleck, 379 P.3d 315, 317 (Colo. 2016) (holding as

   error the district court’s determination that “Bleck had adequately pled that Martinez’s conduct

   was willful and wanton,” because the district court should have determined “all issues relating to

   Martinez’s immunity claim, including factual issues, regardless of whether those issues are

   jurisdictional in nature.”). 8 It is well-settled that this court, as one of limited jurisdiction, must

   sua sponte consider issues of subject matter jurisdiction even if not raised by the Parties. 1mage

   Software, Inc. v. Reynolds & Reynolds Co., 459 F.3d 1044, 1048 (10th Cir. 2006). As an initial

   matter, “the CGIA does not provide a waiver of immunity for Mr. [Tatten’s] outrageous conduct

   claim” under sections 24–10–106(1)(a)–(i). Parker, 2014 WL 3561119, at *8. Thus, Mr. Tatten

   cannot maintain his IIED claim against the City and County of Denver.

          Similarly, this court concludes that Defendant Johnson’s conduct was not “willful and

   wanton” under section 24–10–118(2)(a). To constitute “willful and wanton” conduct, Defendant



   8
     To the extent that this court misapprehends the holding in Martinez, this court also recommends
   dismissal of Plaintiff’s IIED claim (Claim VI) on the basis that Plaintiff fails to allege that
   Defendant Johnson’s conduct was “willful and wanton,” as required under sections 24–10–
   110(5)(a) and 24–10–110(5)(b). This is because Plaintiff relies on the conduct of other Public
   Trustee employees, which does not establish Defendant Johnson’s liability under CGIA, see A.B.
   ex rel. B.S. v. Adams-Arapahoe 28J Sch. Dist., 831 F. Supp. 2d 1226, 1259 (D. Colo. 2011), and
   his own self-serving, conclusory allegations that Defendant Johnson acted “willfully and
   wantonly”—allegations that are insufficient to establish liability. See Robinson v. City & Cty. of
   Denver, 39 F. Supp. 2d 1257, 1264 (D. Colo. 1999) (“Conclusory allegations therefore do not
   satisfy section 24–10–110(5).”); Wilson v. Meyer, 126 P.3d 276, 282–83 (Colo. App. 2005)
   (holding that conclusory allegations of “willful and wanton” conduct are insufficient).
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   Johnson “must be consciously aware that [her] acts or omissions create danger or risk to the

   safety of others, and [she] then act, or fail to act, without regard to the danger or risk.” Gray v.

   Univ. of Colorado Hosp. Auth., 284 P.3d 191, 198 (Colo. App. 2012); accord Martinez, 379 P.3d

   at 323 (holding that “willful and wanton” conduct “must exhibit a conscious disregard of the

   danger.”).   Thus, the facts presented must demonstrate that Defendant Johnson’s conduct

   “exhibit[ed] a conscious disregard for the danger.” Martinez, 379 P.3d at 323.

          Plaintiff alleges that the acts or omission of each Defendant “were intentional or reckless

   and extreme and outrageous,” and were the legal and proximate cause of his “severe emotion

   distress,” his “damages,” his “actual physical, cognitive” distress, and his “injuries” that include

   “threat to his health, safety, and welfare.” [#1 at ¶¶ 209–213]. In addition, Mr. Tatten alleges

   that the “facts, circumstances, records, documents, and a partial transcript from the Rule 120

   hearing establish that the acts or omissions of . . . [Defendant Johnson] were committed

   intentionally, maliciously, willfully, wantonly, and/or in recklessly to collect a time-barred debt

   from Tatten, a disabled homeowner.” [Id. at ¶ 12].

          Upon review Mr. Tatten’s Complaint, it appears that the premise for his IIED claim

   (Claim VI) against Defendant Johnson stem from the Rule 120 proceeding and his various,

   limited interactions with the Denver Public Trustee’s office and its employees. [Id. at 16].

   These interactions include February 2016 email correspondences with John Davies regarding

   LSF9’s foreclosure of the Property [id. at ¶ 72–73]; February and March 2016 email

   correspondences with Juan Guzman regarding LSF9’s foreclosure [id. at ¶¶ 74–75, 78–81]; his

   hand delivering of his notice of intent to sue to the Public Trustee’s office [id. at ¶¶82–83]; his

   allegations that the Public Trustee’s website was being updated on June 8, 2016, [id. at ¶¶ 86–

   87]; and his allegations that Juan Guzman instructed Public Trustee employees to not answer his



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   questions [id. at ¶¶88–91]. Notably, these allegations do not refer to Plaintiff’s interactions with

   Defendant Johnson; instead, Plaintiff alleges that Defendant Johnson’s conduct, in administering

   the foreclosure sale of the Property, was “willful and wanton.”

          The factual allegations in Plaintiff’s Complaint do not support a finding that Defendant

   Johnson’s conduct was “willful and wanton” for purposes of waiving her immunity under the

   CGIA, and there is no other evidence in the record for this court to draw such a conclusion.

   Rather, these allegations demonstrate that Defendant Johnson performed her duties as Denver

   Public Trustee—duties that included administering the foreclosure sale of the Property in

   accordance with the OAS issued by the Denver District Court. This court concludes that simply

   because Plaintiff is aggrieved by Defendant Johnson’s conduct, the factual allegations in the

   record do not justify a conclusion that her conduct “exhibit[ed] a conscious disregard for the

   danger” or risk to Plaintiff’s safety.    Martinez, 379 P.3d at 323.      Accordingly, this court

   RECOMMENDS that Plaintiff’s IIED claim (Claim VI) be DISMISSED as barred by the CGIA.

  II.     The Motion to Amend

          Before reaching Defendants’ Rule 12(b)(6) arguments, this court considers Mr. Tatten’s

   Motion to Amend, as an amended pleading supersedes the pleading it modifies thereby mooting

   any motions to dismiss directed at an inoperative pleading. Gotfredson v. Larsen LP, 432 F.

   Supp. 2d 1163, 1172 (D. Colo. 2006). The time to amend as a matter of course has expired;

   however, because the court has yet to set a deadline for amendment of pleadings and joinder of

   parties, Mr. Tatten brings his Motion to Amend pursuant to Rule 15(a). See Fernandez v.

   Bridgestone/Firestone, Inc., 105 F. Supp. 2d 1194, 1195 (D. Colo. 2000). Rule 15(a) provides,

   “leave to amend shall be freely given when justice so requires.” Fed. R. Civ. P. 15(a). However,

   “[t]his policy is not limitless and must be balanced against [Rule] 7(b)(1), which governs the



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   requirements for all motions and provides that any motion ‘shall be made in writing, shall state

   with particularity the grounds therefor, and shall set forth the relief or order sought.’” Calderon

   v. Kansas Dep’t of Soc. & Rehab. Servs., 181 F.3d 1180, 1186 (10th Cir. 1999) (citation

   omitted). Accordingly, the movant must “give adequate notice to the district court and to the

   opposing party of the basis of the proposed amendment before the court is required to recognize

   that a motion for leave to amend is before it.” Id. at 1186–87 (holding that a district court may

   properly deny requests to amend pleadings when no proper motion is before it, because district

   courts are not required to “engage in independent research or read the minds of litigants to

   determine if information justifying an amendment exists.”). Nevertheless, a district court has

   discretion to deny leave to amend upon a showing of undue delay, futility, or undue prejudice to

   the nonmoving party. See generally Shifrin v. Toll, 483 F. App’x 446, 450 (10th Cir. 2012)

   (citation omitted).

          A district court may deny a motion to amend “when the party filing the motion has no

   adequate explanation for the delay.” Frank, 3 F.3d at 1365–66; see also Durham v. Xerox Corp.,

   18 F.3d 836, 840 (10th Cir.1994) (“[U]nexplained delay alone justifies the district court’s

   discretionary decision.”). Further, courts are justified in denying leave to amend “when it

   appears that the plaintiff is using Rule 15 to make the complaint a moving target, . . . to salvage a

   lost case by untimely suggestion of new theories of recovery, . . . [or] to present theories in

   seriatim in an effort to avoid dismissal.” Minter v. Prime Equip. Co., 451 F.3d 1196, 1206 (10th

   Cir. 2006) (internal quotations and citations omitted). Thus, the inquiry focuses on the reasons

   for the delay. Id.

          Here, Defendants oppose Mr. Tatten’s Motion to Amend on two grounds.                    First,

   Defendants argue that Plaintiff’s proposed amendments are futile, because the Rooker-Feldman



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   doctrine bars Plaintiff’s claim and, alternatively, his proposed amendments fail to state a claim.

   See [#57 at 6–7; #58 5–6]. Second, LSF9 argues that Plaintiff’s Motion to Amend is untimely,

   as he offers no explanation for why he waited until January 11, 2016, to file his Motion to

   Amend when the court directed him to file no later than December 6, 2016, and the relevant

   proposed allegations occurred in July 2016. See [#58 at 4–5]. Because this court concludes that

   this latter argument justifies denial of the Motion to Amend, it focuses on it.

          The Motion to Amend states that Plaintiff seeks to amend his Complaint because “[a]fter

   June 23, 2016, Defendant City and County of Denver, Defendant Debra Johnson, and Defendant

   LSF9 Master Participation Trust committed acts which are relevant and material to the facts and

   claims contained within the original complaint and jury demand file (sic) in this action.” [#53 at

   1–2]. Specifically, Plaintiff proposes to include new facts that largely occurred between June 23,

   2016, and July 8, 2016, see [#53-1 at ¶¶ 140–141, 143–149, 150–162, 166–169, 173–176], as

   well as three additional claims against Defendants for violations of the Colorado Consumer

   Protection Act (“CCPA”), Colo. Rev. Stat. §§ 6–1–101 et seq.; the Colorado Foreclosure

   Protection Act (“CFPA”), Colo. Rev. Stat. §§ 6–1–1101 et seq.; and negligent infliction of

   emotional distress. [Id. at 80–88]. However, Plaintiff offers no explanation as to why he

   delayed amending his complaint, either from the time he could ascertain the need for amendment

   in July, or after the court’s order striking his attempt to amend in November. See Birmingham v.

   Experian Info. Sols., Inc., 633 F.3d 1006, 1021 (10th Cir. 2011) (affirming the district court’s

   denial of leave to amend because the plaintiff offered no explanation to justify the delay in

   amending).

          Plaintiff originally filed his proposed First Amended Complaint and Jury Demand

   without an appropriate motion on November 28, 2016. See [#43; #44]. Accordingly, this court



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   struck Mr. Tatten’s filing as non-compliant with the Local Rules and the Federal Rules of Civil

   Procedure. [#45]. This court’s Minute Order dated November 29, 2016, directed Mr. Tatten to

   file his Motion to Amend no later than December 6, 2016. See [id.]. Rather, Mr. Tatten filed the

   Motion to Amend over one month after this deadline and has provided no explanation to this

   court for the delay, nor did he seek an extension of time to file his Motion to Amend. See

   Nielsen v. Price, 17 F.3d 1276, 1277 (10th Cir. 1994) (noting that all litigants, even those

   proceeding pro se, must abide by the applicable Federal Rules of Civil Procedure, Local Practice

   Rules of the District, and Practice Standards of the presiding judge).

          Even construing Mr. Tatten’s pleadings and filing liberally, there is no explanation to

   justify his delay in amending. He states no good cause that excuses him from complying with

   the relevant Federal Rules of Civil Procedure. Id. Nor does Mr. Tatten provide any basis for this

   court to conclude that he has good cause to be excused from this court’s order of November 29,

   2016. [#45]. Between July and November, Mr. Tatten made other filings, including responding

   to the Motion to Dismiss filed by the City and County of Denver and Debra Johnson [#25], and a

   Motion to Extend Time to Serve [#28]. These alleged new facts were within his control when he

   sought additional time to serve Defendant LSF9, and it appears that some were included in that

   Motion to Extend Time. Compare [#28] with [#53-1]. The brief in support of the Motion to

   Amend appears simply to be the proposed First Amended Complaint, with no justification for the

   delay. See [#55]. While respectful of Mr. Tatten’s cognitive limitations, this court finds no basis

   to excuse him from complying with applicable rules or orders.            Accordingly, this court

   RECOMMENDS that Plaintiff’s Motion to Amend be DENIED as untimely. 9 See Zisumbo v.



   9
     Briefly, even if the motion was timely, this court also recommends denial of Plaintiff’s Motion
   to Amend on futility grounds. First, Plaintiff cannot maintain a CCPA claim against the City
   Defendants, because they are not businesses dealing with the public. See Loughridge v.
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    Ogden Reg’l Med. Ctr., 801 F.3d 1185, 1195 (10th Cir. 2015) (affirming the district court’s

    denial of leave to amend, because the plaintiff offered no adequate explanation for his delay in

    amending even under Rule 15(a)’s more lenient standard).

  III.     The Motions to Dismiss Pursuant to 12(b)(6)

           This court now turns to Defendants’ arguments for dismissal of Plaintiff’s Complaint

    under Rule 12(b)(6).

           A.      Claim III – Failure to Train & Supervise

           To prevail on a failure to train and supervise claim under § 1983, a plaintiff must

    demonstrate an “affirmative link” between the supervisor-defendant and the constitutional

    violation—this requires more than the supervisor’s “mere knowledge” of her employee’s

    conduct. Schneider v. City of Grand Junction Police Dep’t, 717 F.3d 760, 767 (10th Cir. 2013)

    (citing Iqbal, 556 U.S. at 677). Accordingly, a plaintiff must establish: (1) the defendant’s


    Goodyear Tire & Rubber Co., 192 F. Supp. 2d 1175, 1185 (D. Colo. 2002). Similarly, to
    maintain a CCPA claim, Plaintiff must allege that LSF9’s conduct “significantly impacts the
    public,” which Plaintiff does not allege, and Plaintiff cannot merely use the CCPA to remedy a
    purely private wrong. See NetQuote, Inc. v. Byrd, 504 F. Supp. 2d 1126, 1135–36 (D. Colo.
    2007). Second, Plaintiff cannot maintain a CFPA claim against either the City Defendants or
    LSF9, as neither are “foreclosure consultants” nor “equity purchasers” as defined under the
    statute. See Colo. Rev. Stat. §§ 6–1–1103(2)(c) (excluding from “equity purchasers” any person
    who receives title by a deed from the public trustee as the result of a foreclosure sale, i.e., LSF9),
    (4)(a) (“foreclosure consultant” includes anyone that does not have a direct interest in the house,
    but offers services related to stopping or postponing foreclosure sale), (b) (excluding holder or
    servicer of an evidence of debt secured by a deed of trust on any residence in foreclosure).
    Third, for the reasons stated above, this court concludes that the CGIA bars Plaintiff’s IIED
    claim against the City Defendants and, thus, would also bar his negligent infliction of emotional
    distress claim. See Medina, 35 P.3d at 453. And, similarly, Plaintiff’s added allegations against
    LSF9 fail to demonstrate that LSF9’s conduct was so extreme or outrageous (in fact, their
    conduct was consistent with foreclosing on the Property), to maintain an IIED claim, let alone a
    negligent infliction of emotional distress claim. See Watson, 242 F.3d at 1239–40 (holding that
    futility means that the amendment would not survive dismissal). Finally, it does not appear to
    this court that Plaintiff’s added factual allegations sufficiently bolster Plaintiff’s original claims
    such that amendment would survive a subsequent Rule 12(b)(6) challenge. In fact, a vast
    majority of Plaintiff’s factual allegations in his Complaint and proposed Amended Complaint
    concern Plaintiff’s grievances with Bank of America, a non-party.
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   personal involvement; (2) a causal connection; and (3) a culpable state of mind. See Dodds v.

   Richardson, 614 F.3d 1185, 1195 (10th Cir. 2010). This is because “[s]ection 1983 does not

   authorize liability under a theory of respondeat superior.” Brown v. Montoya, 662 F.3d 1152,

   1164 (10th Cir. 2011).     The plaintiff must establish a “deliberate, intentional act” by the

   supervisor-defendant. See generally Porro v. Barnes, 624 F.3d 1322, 1327 (10th Cir. 2010).

          For liability purposes under § 1983, a municipality cannot be liable for constitutional

   violations when there is no underlying constitutional violations by any of its officers, nor can it

   be held liable under the theory of vicarious liability for the constitutional deprivations of its

   officers. See Olsen v. Layton Hills Mall, 312 F.3d 1304, 1317–18 (10th Cir. 2002). “Rather, to

   establish municipal liability, a plaintiff must show 1) the existence of a municipal policy or

   custom, and 2) that there is a direct causal link between the policy or custom and the injury

   alleged.” Hinton v. City of Elwood, 997 F.2d 774, 782 (10th Cir. 1993). As relevant here, Mr.

   Tatten may establish a policy or custom by the City and County of Denver’s failure to adequately

   train or supervise its employees, including Defendant Johnson, so long as that failure results

   from deliberate indifference to the injuries that may be caused. See Bryson v. City of Oklahoma

   City, 627 F.3d 784, 788 (10th Cir. 2010). However, it is not enough for Mr. Tatten to point to a

   single violation of federal rights—he must also allege that the City and County of Denver has

   “failed to train its employees to handle recurring situations presenting obvious potential for such

   a violation.” Allen v. Muskogee, 119 F.3d 837, 841–42 (10th Cir. 1997).

          The City Defendants argue that Plaintiff’s Complaint fails to allege a viable failure to

   train and supervise claim (Claim III), because Plaintiff appears to base his claim on the assertion

   that the City Defendants should not have proceeded with the foreclosure of the Property given

   his objections to its validity, and that the City Defendants’ employees failed to communicate



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   properly with Mr. Tatten, a disabled homeowner. [#4 at 11]. According to the City Defendants,

   Plaintiff fails to allege any constitutional violations based on the City Defendants’ failure to train

   or supervise. [Id.].

            In response, Plaintiff contends that his Complaint adequately alleges that he informed the

   City Defendants’ employees of his cognitive disability, that he sought relevant information from

   these employees regarding the foreclosure on the Property, and that the employees’ failure to

   provide that information prohibited him from defending his legal and property rights. [#25 at 5].

   For the following reasons, this court respectfully disagrees.

            Claim III alleges that the City Defendants “failed to properly instruct, train, supervise,

   guide, and/or monitor its employees with respect to communicating with the public, including

   [persons] with a disability.” [#1 at ¶ 182]. Further, that the City Defendants failed to train

   and/or supervise its employees on Colorado’s foreclosure laws, including Rule 120, and failed to

   train and/or supervise its employees on how to communicate with homeowners, including those

   with disabilities. [Id. at ¶¶ 183, 185]. According to Plaintiff, this failure led to violations of his

   due process and equal protection rights under the Fourteenth Amendment. [Id. at 39].

            Plaintiff bases Claim III on his limited interactions with Public Trustee employees and

   his frustrations associated with those encounters. Specifically, in February and March 2016,

   Plaintiff emailed John Davies and Juan Guzman (employees of the Public Trustee), seeking

   information concerning LSF9’s foreclosure of the Property. [Id. at ¶¶72–75, 78–81]. And, on at

   least one occasion, Mr. Guzman apparently provided the information Plaintiff sought. See [id. at

   ¶ 75].    However, Plaintiff alleges that on June 8, 2016, the Public Trustee’s website was

   undergoing maintenance and he was unable to retrieve important information regarding the

   foreclosure sale set for June 9, 2016. See [id. at ¶¶ 86–87]. Thus, he went personally to the



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   Public Trustee’s office to ask its employees for information regarding the foreclosure sale;

   however, Mr. Guzman instructed these employees not to answer Plaintiff’s questions and stated,

   “[w]e will continue with our statutory obligations.” [Id. at ¶¶ 88–91].

          Based on the foregoing, this court concludes that Plaintiff fails to state a viable failure to

   train and supervise claim under § 1983. First, Plaintiff’s allegations fail to establish a violation

   of his constitutional rights to due process or equal protection, let alone that Defendant Johnson,

   as Public Trustee, “promulgated, created, implemented or possessed responsibility for the

   continued operation of [the] policy” that allegedly violated the plaintiff’s constitutional rights.

   Dodds, 614 F.3d at 1199–1200. Next, even if Plaintiff could sufficiently allege a constitutional

   violation by either Defendant Johnson or her employees, Plaintiff’s allegations fail to identify a

   City and County of Denver policy or custom that was the direct link to Plaintiff’s alleged

   constitutional injuries. See Barney v. Pulsipher, 143 F.3d 1299, 1307 (10th Cir. 1998) (holding

   that a municipality may be liable under § 1983 only for its own unconstitutional customs or

   policies, not for the tortious acts of its employees). Rather, Plaintiff appears to predicate Claim

   III on his frustrations with Mr. Guzman’s instruction to Public Trustee employees not to answer

   his questions. And, again respectful of Mr. Tatten’s cognitive disability and frustrations with the

   foreclosure of the Property, this court concludes that a single incident as pled does not give rise

   to municipal liability under § 1983.      See Olsen, 312 F.3d at 1318 (holding that a single

   constitutional violation may satisfy the requirements for municipal liability under § 1983 only

   when the violation is a “highly predictable and plainly obvious” consequence of a municipality’s

   failure to train and/or supervise its employees).             Therefore, this court respectfully

   RECOMMENDS that Claim III be DISMISSED.




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          B.      Claim IV – the ADA

          Title II of the ADA provides, “no qualified individual with a disability shall, by reason of

   such disability, be excluded from participation in or be denied the benefits of the services,

   programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

   42 U.S.C. § 12132. To state a claim under Title II, Mr. Tatten must allege: “(1) []he is a

   qualified individual with a disability, (2) who was excluded from participation in or denied the

   benefits of a public entity’s services, programs, or activities, and (3) such exclusion, denial of

   benefits, or discrimination was by reason of a disability.” Cohon ex rel. Bass v. New Mexico

   Dep’t of Health, 646 F.3d 717, 725 (10th Cir. 2011) (internal quotations omitted) (quoting

   Robertson v. Las Animas Cty. Sheriff’s Dep’t, 500 F.3d 1185, 1193 (10th Cir. 2007)).

          The City Defendants argue for dismissal of Plaintiff’s ADA claim (Claim IV), because

   Plaintiff does not allege how he was excluded from participation in the Public Trustee’s

   foreclosure services or that, even if he was excluded, that it was solely because of his disability.

   [#4 at 12–13]. In response, Plaintiff argues that his Complaint adequately alleges that he sought

   information from the Public Trustee’s office regarding the foreclosure on the Property, that the

   Public Trustee’s employees refused to provide that information, and that this refusal was because

   of his cognitive disability. [#25 at 5].

          In his Complaint, Plaintiff alleges that he contacted John Davies (an employee of the

   Public Trustee) to receive information regarding the foreclosure of the Property, and in that

   correspondence, Plaintiff informed Mr. Davies that he was cognitively disabled. [#1 at ¶ 73].

   Further, the Public Trustee’s website was under maintenance on June 8, 2016, which precluded

   Plaintiff from receiving relevant information regarding the foreclosure sale of the Property [id. at

   ¶¶ 86–87], and, on upon personally seeking information from Public Trustee employees, Mr.



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   Guzman instructed employees not to answer his questions. See [id. at ¶¶ 88–91]. Plaintiff

   contends that the City Defendants violated the Title II of the ADA by failing to “communicate

   effectively with Tatten concerning the foreclosure and the actions of [Defendant Johnson];” by

   failing to train its employees on how to deal with disabled homeowners going through

   foreclosure; and by maintaining records systems that are inaccessible to Plaintiff. See [id. at ¶¶

   192–94].

          “The ADA addresses three broad categories of discrimination:             disparate treatment,

   disparate impact, and a failure to provide a reasonable accommodation.” Shepherd v. U.S.

   Olympic Comm., 464 F. Supp. 2d 1072, 1090 (D. Colo. 2006). Here, Plaintiff’s ADA claim

   appears to be one of disparate treatment, i.e., the City Defendants treated him, as a disabled

   individual, differently than non-disabled individuals, or that they failed to appropriately

   accommodate him due to his cognitive disability. However, this court concludes that, under any

   theory, Plaintiff fails to allege a viable ADA claim.

          First, it is unclear from the Complaint what relevant information Plaintiff sought from the

   Public Trustee’s employees regarding the foreclosure sale, or how the absence of this

   information excluded him from receiving the benefits of the City Defendants’ services. Next,

   although Mr. Tatten informed an employee of his cognitive disability, he does not allege that he

   informed the Public Trustee’s employees of the accommodation he needed in order to fully

   participate in the benefits of its foreclosure services, and nothing indicates that his disability was

   “obvious” (in fact, he labels his disability as “invisible”) so that these employees would know he

   needed accommodations. See Robertson, 500 F.3d at 1197 (explaining that even if a public

   entity has knowledge of a plaintiff’s disability, they must also be aware of the plaintiff’s need for

   specific accommodations, which can be shown if the plaintiff informs the public entity of those



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   accommodations, or if the disability is “obvious”). Further, other than Plaintiff’s conclusory

   allegations, there is no indication that Mr. Guzman instructed employees not to answer Mr.

   Tatten’s questions, or took or failed to take any action, by reason of Plaintiff’s disability. See

   Baker v. Target Corp., 398 F. App’x 364, 364–65 (10th Cir. 2010) (affirming the district court’s

   dismissal of the plaintiff’s complaint, because the plaintiff failed to allege factual support for his

   claim that the defendant discriminated against him on the basis of his disability other than

   conclusory statements to that effect). Accordingly, this court RECOMMENDS that Plaintiff’s

   ADA claim (Claim IV) be DISMISSED.

          C.      Claim V – the FDCPA

          Congress enacted the FDCPA to combat “abusive, deceptive, and unfair debt collection

   practices” used by many debt collectors. 15 U.S.C. § 1692(a). The FDCPA defines “debt

   collector” as “any person who uses any instrumentality of interstate commerce or the mails in

   any business the principal purpose of which is the collection of any debts, or who regularly

   collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

   due another.” 15 U.S.C. § 1692a(6). Accordingly, the FDCPA prohibits debt collectors from

   engaging in conduct “the natural consequence of which is to harass, oppress, or abuse any person

   in connection with collection of a debt,” id. § 1692d, and limits how and when a debt collector

   may contact a consumer regarding a debt, id. § 1692c. If a plaintiff can prove a violation of the

   FDCPA, she may recover actual damages, statutory damages up to $1,000, as well as reasonable

   attorney’s fees. See 15 U.S.C. § 1692k(a).




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                1.    The City Defendants

          The City Defendants argue for dismissal of Plaintiff’s FDCPA claim (Claim V), because

   they are not “debt collectors,” as defined under the FDCPA.           [#4 at 14–15].    This court

   respectfully agrees.

          Under the definition of “debt collector,” the FDCPA explicitly excludes “any officer or

   employee of the United States or any State to the extent that collecting or attempting to collect

   any debt is in the performance of [her] official duties.” 15 U.S.C. § 1692a(6)(C). Here, to the

   extent the City Defendants’ actions in administering the foreclosure sale on the Property can be

   considered collecting or an attempt to collect a debt, these actions were “in performance of [the

   City Defendants’] official duties.” Id.; see also Patrick v. Bank of N.Y. Mellon, No. 11-CV-

   01304-REB-MJW, 2012 WL 934288, at *15 (D. Colo. Mar. 1, 2012) (holding that a Public

   Trustee is not a debt collector because of § 1692a(6)(C)). Even if this exemption did not apply

   to the City Defendants, Plaintiff fails to allege that the City Defendants’ principal purpose is the

   collection of debts. See Hayes v. Shelby Cty. Tr., 971 F. Supp. 2d 717, 730 (W.D. Tenn. 2013)

   (dismissing the plaintiff’s FDCPA claim against county officials, utilities, and creditors, because

   they were not “debt collectors” under the statute).

                2.    LSF9

          LSF9 moves for dismissal of Plaintiff’s FDCPA claim for two reasons. First, Plaintiff’s

   allegations are mostly conclusory and insufficient to state a viable FDCPA, and those that are not

   conclusory, allege violations that are not applicable to LSF9. [#34 at 10]. Second, Plaintiff’s

   FDCPA claim fails because the FDCPA does not apply to foreclosure actions. For the following

   reasons, this court respectfully agrees.




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          Here, Mr. Tatten alleges that LSF9 violated multiple provisions of the FDCPA. [#1 at

   42–43]. Specifically, LSF9 violated sections 1692c (prohibiting debt collectors from contacting

   consumers at inconvenient times and locations), 1692d (prohibiting abusive or harassing

   collection efforts), 1692e (prohibiting the use of false, deceptive, or misleading debt collection

   tactis), 1692f (prohibiting unfair and unconscionable collection tactics), and 1692g (requiring the

   debt collector to provide written validation of the debt to the consumer). See [id. at ¶¶ 197–198,

   204, 205]. Aside from his general allegations that LSF9 improperly foreclosed on the Property,

   the only allegations relevant to Plaintiff’s FDCPA claim include that LSF9 is a debt collector

   who sent debt collection letters to Plaintiff without meaningful attorney review. [Id. at ¶¶ 136–

   137]. However, as LSF9 correctly notes, meaningful attorney review applies only to a law firm

   that sends a debt collection letter on behalf its client without actually confirming that a debt is

   due and owing. See Miller v. Wolpoff & Abramson, L.L.P., 321 F.3d 292, 302 (2d Cir. 2003).

   Here, the Janeway Law firm sent Plaintiff debt collection letters on LSF9’s behalf [#1 at ¶73];

   however, Janeway Law is not a party to this action. Thus, Plaintiff’s FDCPA claim predicated

   on a failure of LSF9 to undertake meaningful attorney review fails as a matter of law.

          In addition, “[a]lthough not all courts agree on whether and when foreclosure activities

   are covered by the FDCPA, the majority of courts—including those in this District—have held

   that foreclosure activities are outside the FDCPA’s scope.” Sudduth v. Citimortgage, Inc., 79 F.

   Supp. 3d 1193, 1198 (D. Colo. 2015) (citation omitted); see also Munholland v. Wells Fargo

   Bank, Nat. Ass’n, No. 11-CV-03393-RBJ-KMT, 2013 WL 1130592, at *3 (D. Colo. Feb. 25,

   2013) (collecting cases). Here, Plaintiff’s allegations arise from LSF9’s actions in initiating the

   Rule 120 proceeding and the correspondences associated with that proceeding—he does not

   allege that LSF9 “took any action to obtain payment on the debt.” Obduskey v. Fargo, No. 15-



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   CV-01734-RBJ, 2016 WL 4091174, at *3 (D. Colo. July 19, 2016) (“In sum, the Court does not

   find any reason in plaintiff’s complaint or briefs to support deviating from the majority view that

   foreclosure proceedings are not a collection of a debt.          Mr. Obduskey’s FDCPA against

   McCarthy is dismissed.”). Therefore, this court RECOMMENDS that Plaintiff’s FDCPA claim

   (Claim V) be DISMISSED against LSF9.

          D.      Claim VI - IIED

          To maintain an IIED claim (also referred to as an outrageous conduct claim) under

   Colorado law, Mr. Tatten must allege sufficient facts to show: “(1) the defendant(s) engaged in

   extreme and outrageous conduct, (2) recklessly or with the intent of causing the plaintiff severe

   emotional distress, and (3) causing the plaintiff severe emotional distress.” Nasious v. Two

   Unknown B.I.C.E. Agents at Arapahoe Cty. Justice Ctr., 657 F. Supp. 2d 1218, 1232 (D. Colo.

   2009) (internal quotations omitted) (quoting Archer v. Farmer Bros. Co., 70 P.3d 495, 499

   (Colo. App .2002)). The tort of IIED creates liability for only a “very narrow type of conduct,”

   i.e., “conduct so outrageous in character and so extreme in degree, as to go beyond all possible

   bounds of decency and be regarded as atrocious and utterly intolerable in a civilized

   community.” Maiteki v. Marten Transportation Ltd., 4 F. Supp. 3d 1249, 1256 (D. Colo. 2013)

   (quoting Pearson v. Kancilia, 70 P.3d 594, 597 (Colo. App. 2003) (observing that the level of

   outrageousness is an extremely high requirement that does not include “[m]ere insults,

   indignities, threats, annoyances, petty oppressions, or other trivialities”)). “Generally, the case is

   one in which the recitation of the facts to an average member of the community would arouse his

   resentment against the actor, and lead him to exclaim, ‘Outrageous!’” Churchey v. Adolph

   Coors Co., 759 P.2d 1336, 1350 (Colo. 1988) (quotations and citation omitted). Initially, it is the

   court’s duty to determine whether reasonable persons could differ on the question of



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   outrageousness under the presented circumstances. Dolin v. Contemporary Fin. Sols., Inc., 622

   F. Supp. 2d 1077, 1090 (D. Colo. 2009) (dismissing under Rule 12(b)(6) the plaintiffs’ IIED

   claim, because the plaintiffs failed to allege sufficient facts to allow a reasonable person to

   conclude that the defendant’s conduct was outrageous).

          LSF9 moves for dismissal of Plaintiff’s IIED claim (Claim VI) on two grounds. First,

   Plaintiff fails to allege that LSF9’s conduct was so extreme and outrageous to maintain an IIED

   claim and, instead, merely recites the elements for establishing such a claim. See [#34 at 12].

   Second, and in the alternative, because Plaintiff’s federal law claims fail as a matter of law, the

   court should decline to exercise supplemental jurisdiction over Plaintiff’s state law claim. [Id. at

   12–13]. Because this court agrees with LSF9’s first argument, it focuses on it.

          As discussed, Plaintiff’s Complaint alleges that Defendants acts or omissions caused

   Plaintiff’s damages, which include severe emotional distress. [#1 at ¶¶ 99–100, 208–213].

   Similar to the City Defendants, Plaintiff merely asserts that LSF9 acted intentionally,

   maliciously, willfully, wantonly, and recklessly by foreclosing on a time-barred debt. [Id. at ¶

   12, 15].   The only relevant allegations against LSF9 include:         (1) Bank of America sold

   Plaintiff’s Note to LSF9 on September 29, 2015; (2) LSF9 sent Plaintiff a “NOTICE OF SALE

   OF OWNERSHIP OF MORTGAGE LOAN” on October 20, 2015; (3) LSF9 initiated the Rule

   120 proceeding on February 18, 2016, and sought to foreclose on a time-barred debt; and

   (4) LSF9 is a debt collector and sent Plaintiff debt collection letters without meaningful attorney

   review. [Id. at ¶¶ 128, 131–137]. These allegations fail to allege “conduct so outrageous in

   character and so extreme in degree, as to go beyond all possible bounds of decency and be

   regarded as atrocious and utterly intolerable in a civilized community.” Maiteki, 4 F. Supp. 3d at

   1256 (quotations and citation omitted). Moreover, Plaintiff’s allegations largely focus on the



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   conduct of Bank of America, a non-party to this action. See e.g., [id. at 22–32]. Accordingly,

   this court RECOMMENDS that Plaintiff’s IIED claim (Claim VI) be DISMISSED against LSF9.

                                                CONCLUSION

          Therefore, for the reasons state herein, this court respectfully RECOMMENDS that:

          (1)     The City Defendants’ Motion to Dismiss [#4] be GRANTED;

          (2)     LSF9’s Motion to Dismiss [#34] be GRANTED;

          (3)     Mr. Tatten’s Motion to Amend [#53] be DENIED; and

          (4)     Mr. Tatten’s Complaint be DISMISSED. 10



   Dated: February 3, 2017                              BY THE COURT:


                                                        s/Nina Y. Wang__________
                                                        United States Magistrate Judge


   10
      Within fourteen days after service of a copy of the Recommendation, any party may serve and
   file written objections to the Magistrate Judge’s proposed findings and recommendations with
   the Clerk of the United States District Court for the District of Colorado. 28 U.S.C. § 636(b)(1);
   Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A general objection that
   does not put the District Court on notice of the basis for the objection will not preserve the
   objection for de novo review. “[A] party’s objections to the magistrate judge’s report and
   recommendation must be both timely and specific to preserve an issue for de novo review by the
   district court or for appellate review.” United States v. One Parcel of Real Property Known As
   2121 East 30th Street, Tulsa, Oklahoma, 73 F.3d 1057, 1060 (10th Cir. 1996). Failure to make
   timely objections may bar de novo review by the District Judge of the Magistrate Judge’s
   proposed findings and recommendations and will result in a waiver of the right to appeal from a
   judgment of the district court based on the proposed findings and recommendations of the
   magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (District Court’s
   decision to review a Magistrate Judge’s recommendation de novo despite the lack of an objection
   does not preclude application of the “firm waiver rule”); International Surplus Lines Insurance
   Co. v. Wyoming Coal Refining Systems, Inc., 52 F.3d 901, 904 (10th Cir. 1995) (by failing to
   object to certain portions of the Magistrate Judge’s order, cross-claimant had waived its right to
   appeal those portions of the ruling); Ayala v. United States, 980 F.2d 1342, 1352 (10th Cir. 1992)
   (by their failure to file objections, plaintiffs waived their right to appeal the Magistrate Judge’s
   ruling). But see, Morales-Fernandez v. INS, 418 F.3d 1116, 1122 (10th Cir. 2005) (firm waiver
   rule does not apply when the interests of justice require review).

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